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                  IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                           Case No. 2:21-MJ-04077
     UNITED STATES OF AMERICA,
13                                           ORDER OF DETENTION
                       Plaintiff,
14
                  v.
15
     YASEN MAKARA,
16
17                     Defendant.
18
19         On September 22, 2021, Defendant Yasen Makara made his initial
20   appearance on the Complaint filed in this matter. Deputy Federal Public
21   Defender James S. Threatt was appointed to represent Defendant.
22         A detention hearing was held on September 22, 2021.
23         ~     On motion of the Government [18 U.S.C. § 31420(1)] in a case

24   allegedly involving any felony that is not otherwise a crime of violence that
25   involves a minor victim, or possession or use of a firearm or destructive

26   device or any other dangerous weapon, or a failure to register under 18
27   U.S.C. § 2250.
28
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 1         The Court concludes that the Government is not entitled to a

 2 ~ rebuttable presumption that no condition or combination of conditions will
 3   reasonably assure the defendant's appearance as required and the safety or

 4   any person or the community [18 U.S.C. § 3142(e)(2)].

 5         The Court finds that no condition or combination of conditions will

 6 ~ reasonably assure:
 7               ~ the appearance of the defendant as required.

 8               ~ the safety of any person or the community.

 9         The Court has considered the following:

10        (a) the nature and circumstances of the offenses) charged, including

11         whether the offense is a crime of violence, a Federal crime of terrorism,

12         or involves a minor victim or a controlled substance, firearm, explosive,

13         or destructive device;

14        (b) the weight of evidence against the defendant;

15        (c) the history and characteristics of the defendant; and

16        (d) the nature and seriousness of the danger to any person or the

17         community.

18   See 18 U.S.C. § 3142(8) The Court also considered all the evidence adduced

19   at the hearing, the arguments of counsel, and the report and

20   recommendation of the U.S. Pretrial Services Agency.

21        The Court bases its conclusions on the following:

22        As to danger to the community:

23               ❑
                 D     Criminal history includes 2012 felony kidnapping

24   conviction, 2008 misdemeanor assault conviction, 2004 vandalism conviction,

25   burglary convictions in 2001 and 2004, and allegations of parole violations;

26               ❑
                 D     Numerous arrests between 1995 and 2013, when Defendant

27   was sentenced to eight years in prison for kidnapping.

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 1                 ❑D    Allegations in the Complaint that, while on felony parole,
 2     Defendant possessed a 9mm handgun loaded with a magazine containing 14

 3     rounds in his waistband as he stood on a curb smoking marijuana.

 4                 ❑
                   D     Allegation in the Complaint that Defendant is a known MS-

 5     13 gang member.

 6           As to risk of non-appearance: .

 7 ,               ❑
                   D     The offense alleged in the Complaint occurred while
 8     Defendant was on parole.

 9                 ❑
                   D     Criminal history includes allegations of parole violations in

10     addition to convictions noted above.

11           It is therefore ORDERED that Defendant Yasen Makara be detained

12     until trial. The defendant will be committed to the custody of the Attorney

13     General for confinement in a corrections facility separate, to the extent

14     practicable, from persons awaiting or serving sentences or being held in

15     custody pending appeal. The defendant will be afforded reasonable

16     opportunity for private consultation with counsel. On order of a Court of the

17     United States or on request of any attorney for the Government, the person

18     in charge of the corrections facility in which defendant is confined will deliver

19     the defendant to a United States Marshal for the purpose of an appearance in

20     connection with a court proceeding. See 18 U.S.C. § 3142(1).

21
       Dated: September 23, 2021
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23
                                      PATRICIA DONAHUE
24                                    UNITED STATES MAGISTRATE JUDGE
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